               Case 2:18-bk-20372-BR                          Doc 32 Filed 11/02/18 Entered 11/02/18 16:11:48                                                Desc
                                                               Main Document     Page 1 of 7
 Fill in this information to identify your case and this filing:

 Debtor 1                   Kathy Kim Hua
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:18-bk-20372                                                                                                                  x     Check if this is an
                                                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Lexus                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:      RX330                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Year:       2005                                          Debtor 2 only                                            Current value of the     Current value of the
           Approximate mileage:               185000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
           Other information:                                        At least one of the debtors and another
          Location: 5934 Alessandro Ave,
          Temple City CA 91780                                       Check if this is community property                                $2,000.00                  $2,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $2,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
       No
Official Form 106A/B                                           Schedule A/B: Property                                                                                     page 1
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 Debtor 1       Kathy Kim Hua                                                                       Case number (if known)     2:18-bk-20372

        Yes. Describe.....

                                    Kitchen, Living room, bedroom Furniture
                                    Location: 5934 Alessandro Ave, Temple City CA 91780                                                          $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Television and computer                                                                                      $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Womens Clothing
                                    Location: 5934 Alessandro Ave, Temple City CA 91780                                                            $550.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Women's Costume Jewelery
                                    Location: 5934 Alessandro Ave, Temple City CA 91780                                                            $350.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $4,400.00



Official Form 106A/B                                                 Schedule A/B: Property                                                            page 2
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 Debtor 1          Kathy Kim Hua                                                                                                    Case number (if known)   2:18-bk-20372

 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                    Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                  Wells Fargo bank Account
                                                                                                  Location: 5934 Alessandro Ave, Temple City
                                              17.1.       Checking                                CA 91780                                                                       $50.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...



Official Form 106A/B                                                                       Schedule A/B: Property                                                                  page 3
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 Debtor 1       Kathy Kim Hua                                                                          Case number (if known)   2:18-bk-20372
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         Life Insurance policy ending in
                                         768PR-R
                                         Location: 5934 Alessandro Ave,
                                         Temple City CA 91780                                 Children                                          $33,553.80


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                      Auto Accident Insurance Claim Date of Loss 7-18-2016
                                                      Settled 1-18-18. Net recovery to Debtor: $ 5,833.33                                         $5,833.33


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........


Official Form 106A/B                                                 Schedule A/B: Property                                                             page 4
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 Debtor 1         Kathy Kim Hua                                                                                                         Case number (if known)   2:18-bk-20372
35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $39,437.13


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                        $0.00
 56. Part 2: Total vehicles, line 5                                                                            $2,000.00
 57. Part 3: Total personal and household items, line 15                                                       $4,400.00
 58. Part 4: Total financial assets, line 36                                                                  $39,437.13
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $45,837.13              Copy personal property total            $45,837.13

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $45,837.13




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 5
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 Fill in this information to identify your case:

 Debtor 1                 Kathy Kim Hua
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:18-bk-20372
 (if known)
                                                                                                                                       x   Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2005 Lexus RX330 185000 miles                                   $2,000.00                                  $2,000.00     C.C.P. § 703.140(b)(2)
      Location: 5934 Alessandro Ave,
      Temple City CA 91780                                                                 100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      Kitchen, Living room, bedroom                                   $2,500.00                                  $2,500.00     C.C.P. § 703.140(b)(3)
      Furniture
      Location: 5934 Alessandro Ave,                                                       100% of fair market value, up to
      Temple City CA 91780                                                                 any applicable statutory limit
      Line from Schedule A/B: 6.1

      Television and computer                                         $1,000.00                                  $1,000.00     C.C.P. § 703.140(b)(3)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Womens Clothing                                                     $550.00                                  $550.00     C.C.P. § 703.140(b)(3)
      Location: 5934 Alessandro Ave,
      Temple City CA 91780                                                                 100% of fair market value, up to
      Line from Schedule A/B: 11.1                                                         any applicable statutory limit

      Women's Costume Jewelery                                            $350.00                                  $350.00     C.C.P. § 703.140(b)(4)
      Location: 5934 Alessandro Ave,
      Temple City CA 91780                                                                 100% of fair market value, up to
      Line from Schedule A/B: 12.1                                                         any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: Wells Fargo bank Account                                   $50.00                                    $50.00        C.C.P. § 703.140(b)(5)
     Location: 5934 Alessandro Ave,
     Temple City CA 91780                                                                  100% of fair market value, up to
     Line from Schedule A/B: 17.1                                                          any applicable statutory limit

     Life Insurance policy ending in                                 $33,553.80                                $14,325.00         C.C.P. § 703.140(b)(8)
     768PR-R
     Location: 5934 Alessandro Ave,                                                        100% of fair market value, up to
     Temple City CA 91780                                                                  any applicable statutory limit
     Beneficiary: Children
     Line from Schedule A/B: 31.1

     Life Insurance policy ending in                                 $33,553.80                                                   C.C.P. § 703.140(b)(7)
     768PR-R
     Location: 5934 Alessandro Ave,                                                        100% of fair market value, up to
     Temple City CA 91780                                                                  any applicable statutory limit
     Beneficiary: Children
     Line from Schedule A/B: 31.1

     Life Insurance policy ending in                                 $33,553.80                                $14,053.80         C.C.P. § 703.140(b)(5)
     768PR-R
     Location: 5934 Alessandro Ave,                                                        100% of fair market value, up to
     Temple City CA 91780                                                                  any applicable statutory limit
     Beneficiary: Children
     Line from Schedule A/B: 31.1

     Auto Accident Insurance Claim Date                               $5,833.33                                                   C.C.P. § 703.140(b)(11)(D)
     of Loss 7-18-2016
     Settled 1-18-18. Net recovery to                                                      100% of fair market value, up to
     Debtor: $ 5,833.33                                                                    any applicable statutory limit
     Line from Schedule A/B: 33.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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